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14
                               UNITED STATES DISTRICT COURT
15
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     UNITED STATES OF AMERICA,                 No. CR 19-061-JVS
17
                 Plaintiff,                    GOVERNMENT’S EX PARTE APPLICATION
18                                             FOR AN ORDER SETTING A BRIEFING
                      v.                       SCHEDULE ON GOVERNMENT’S MOTION
19                                             FOR AN ORDER THAT DEFENDANT
     MICHAEL JOHN AVENATTI,                    IDENTIFY ANY FURTHER MATERIAL ON
20                                             THE EAGAN AVENATTI SERVERS
                  Defendant.                   REQUESTED BY THE DEFENSE BY
21                                             OCTOBER 12, 2021; DECLARATION OF
                                               ALEXANDER C.K. WYMAN
22
                                               [PROPOSED ORDER LODGED HEREWITH]
23

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25         Plaintiff United States of America, by and through its counsel

26   of record, the Acting United States Attorney for the Central District

27   of California and Assistant United States Attorneys Brett A. Sagel

28   and Alexander C.K. Wyman, hereby files this ex parte application for
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1    an order setting a briefing schedule on the government’s motion for

2    an order that defendant identify any further material on the Eagan

3    Avenatti servers requested by the defense by October 12, 2021.

4    Specifically, the government requests that the Court set the hearing

5    on this matter earlier than the 28 days ordinarily required under the

6    Local Rules so as to hear this motion at the same time as defendant’s

7    forthcoming motion to dismiss, and that the Court set the following

8    briefing schedule: defendant’s opposition shall be due September 20,

9    2021; any reply shall be due September 24, 2021; and the hearing

10   shall occur on October 4, 2021, at 9:00 AM.          This application is

11   based upon the attached Declaration of Alexander C.K. Wyman.

12   Defendant opposes this application.

13    Dated: September 13, 2021            Respectfully submitted,

14                                         TRACY L. WILKISON
                                           Acting United States Attorney
15
                                           SCOTT M. GARRINGER
16                                         Assistant United States Attorney
                                           Chief, Criminal Division
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18                                               /s/
                                           BRETT A. SAGEL
19                                         ALEXANDER C.K. WYMAN
                                           Assistant United States Attorneys
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                                           Attorneys for Plaintiff
21                                         UNITED STATES OF AMERICA

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1                         DECLARATION OF ALEXANDER C.K. WYMAN

2          I,    Alexander C.K. Wyman, declare as follows:

3          1.    I am an Assistant United States Attorney (“AUSA”) for the

4    Central District of California.        Together with AUSA Brett A. Sagel, I

5    represent the government in United States v. Michael John Avenatti,

6    SA CR 19-061-JVS.      I have personal knowledge of the facts set forth

7    below and could testify competently thereto.

8          2.    I make this declaration in support of the government’s

9    application for an order setting a briefing schedule on the

10   government’s motion for an order that defendant identify any further

11   material on the Eagan Avenatti servers requested by the defense by

12   October 12, 2021, which is being filed simultaneously with this ex

13   parte application.

14         3.    The Court has issued a condensed briefing schedule on

15   defendant’s anticipated forthcoming motion to dismiss.            (CR 802.)

16   Under that schedule, defendant is required to file his motion by

17   September 17, 2021, the government is to file an opposition by

18   September 24, 2021, defendant is to file a reply by September 29,
19   2021, and the hearing on the motion will occur at 9:00 AM on October

20   4, 2021.    (Id.)

21         4.    For efficiency, and to ensure resolution of the

22   government’s motion sufficiently in advance of the November 2, 2021

23   trial date, the government is filing this ex parte application to

24   have the government’s motion heard at the same time as defendant’s

25   anticipated motion (which has yet to be filed) on October 4, 2021.

26         5.    Local Rule 6-1 states that motions shall be served not

27   later than 28 days before the motion day calendar but that the Court

28   may order a shorter time.       The government is requesting that the
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1    hearing be set for 21 days after the filing of its motion so that the

2    Court can address both parties’ motions at the same time.

3          6.    This application is not made for purposes of delay or

4    tactical advantage, but for efficiency given that the Court has

5    already scheduled a hearing for October 4, 2021.           Should the Court

6    deny this ex parte application, the government respectfully requests

7    that the motion be set for hearing the following week, October 11,

8    2021, which would be 28 days after the filing of the motion.

9          7.    On September 10, 2021, I contacted the defense by email.

10   Defendant and his advisory counsel, through a paralegal, informed me

11   that defendant opposes the relief sought herein.

12         I declare under penalty of perjury under the laws of the United

13   States that the foregoing is true and correct.           Executed at Los

14   Angeles, California on September 13, 2021.

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16                                                 /s/
                                           ALEXANDER C.K. WYMAN
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